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                                                          GRANTED.
                                                                    IT IS SO ORDERED.




Margaret W. Wong, Esq. (IK582821)
                                                                    __________________________________
                                                                    J. PHILIP CALABRESE,
Attorney for Petitioner                                             UNITED STATES DISTRICT JUDGE
                                                                    Date: July 14, 2025
Margaret Wong & Associates Co. LPA
3150 Chester Ave.
Cleveland, Ohio 44114
(216) 566-9908
(216) 566-1125 (fax)
Attorney for Petitioner

                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


MARIO R. MONROY VILLALTA,                                    )
                                                             )     Case No. 4:25-cv-1389
       Petitioner,                                           )
                                                             )     MOTION FOR
v.                                                           )     VOLUNTARY
                                                             )     WITHDRAWAL
PAM BONDI, et al.,                                           )
                                                             )
      Respondents.                                           )
__________________________________________                   )

       Now comes Petitioner, Mario Monroy Villalta, by and through undersigned Counsel, and

moves this Honorable Court to grant this motion for voluntary withdrawal of this pending Petition

for a Writ of Habeas Corpus (ECF No. 1) and Motion for Stay of Removal (ECF No. 2). Petitioner

and counsel for Federal Respondents have reached an agreement to resolve issues raised in the

Petition and to dismiss the Petition.


WHEREFORE, Petitioner respectfully requests that this Honorable Court grant this Motion for

Voluntary Withdrawal and dismiss the above-captioned matter.


                                        Respectfully submitted,

                                        /s/ Margaret W. Wong
                                        Margaret W. Wong, Esq. (IK582821)
                                        Attorney for Petitioner
